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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                     OCALA DIVISION


CARLA DEMPSEY,

   Plaintiff,

-vs-                                               CASE NO.: 5:17-cv-00272-MMH-PRL

REGIONS BANK,

   Defendant.

                                      /

                                     NOTICE OF SETTLEMENT

       Plaintiff, Carla Dempsey, by and through the undersigned counsel, hereby notifies the

Court that the parties have reached a settlement with regard to this case and are presently drafting

and finalizing the settlement agreement, and general release or documents. Upon execution of

the same, the parties will file the appropriate dismissal documents with the Court.

Dated: February 2, 2018



                                                     /s/Octavio Gomez
                                                     Octavio “Tav” Gomez, Esquire
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                                                     Attorney for Plaintiff
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                              CERTIFICATE OF SERVICE


I HEREBY CERTIFY that on this 2nd day of February, 2018, a true and correct copy of the

foregoing has been filed with, and provided to all counsel of record, via the Court’s CM/ECF

system.



                                                 /s/ Octavio Gomez___________
                                                 Octavio “Tav” Gomez, Esquire
                                                 Florida Bar #: 0338620
